FlEl'ln this information to identify the case: '

Deb§or chdazwo!li. |nc.

Unlted Siatos Br.inkn,iptcy Court tor the: S°\-‘"'°"" Disl'i'-`i Dlstrtct of N"'
(State)

Case number |3'135070»"<\#')
tit known)

 

Checl< if this is an
amended filing

 

Ot'ficiat Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possibla. Ltse Part 1 for creditors with PR|ORITY unsecured claims and Part 2 for creditors with NONPR|ORETY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also fist executory contracts
ori Schedute A/B: Assets - Reat and Persoriat Property (Officiai Form ZOSAIB) and on Scheo'ule G: Executory Con trac ts and Unexpi'red Leases
(Offtcial Form 2066). Number the entries ln Parts 'l and 2 in the boxes on the lett. |f more space ls needed for Part1 or Part 2, till out and attach
the Addltlona| Page of that Part included in this form.

m List All Creditors with PR|OR|TY Unsecured Claims

1. Do an\,l creditors have priority unsecured claims? {See 11 U.S.C. § 507).
No. en to Pan 2.
C] Yes. Go to line 2.

2. List in alphabeticat order all creditors who have unsecured claims that are entitled to priorihr ln whole or ln part. lf the debtor has more than
3 creditors with priority unsecured c|aims, mt out and attach the Additional Page of Pazt 1.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

`Totai claim Priority amount
m Priority creditor's name and mailing address As otthe petition fili ng date, the claim is: 3 5 §
Ctieck att that appty.
3 Coniingcrii §
Cl uniiquidateci §
Cl Disputed §
bare or dates debt was incurred Basis for the claims §
,`
Last 4 d|glts of account ls the claim subject to offset? §
number mmmm E| No
|:l Yes §
Specify Code subsec tlori of PR!OR|TY unsecured §
claim: 11 U.S.C. § 507(8) ( § §
Prlot'lfy credifD|"S name arle mailing add|’t.’.$$ As of the petition fill ng dala, the claim |s; s 5 §
Check att that appty. j
\:l Contingent l
L_.l Llnliquldated §
§ [;] Disputed z
‘ Date or dates debt was incurred Basls for the ciaim: §
Last 4 diglts of account ls the claim subject to oftset? §
number ___________ m No §
. . n Yes §
S}:iecif)l Code subsection of PREOR lTY unsecured ;
§ claim: 11 U.S.C. § 507(21)( ) `
m PriDrify Greditor’$ name and mailing address As of the petition fiii ng date, the claim is: s 5
f Chectr att that appty.
cl Ccntingent
l C] Un|§quidated
` Disputed
Date or dates debt was incurred Basls for the claim:
Last 4 digits of account ls the claim subject to oftset?
number m_,____________ C] No
CI Yes

Speclfy Code subsection of PREOR!T‘( unsecured
ctaim: 11 U.S.C. § 507(a)( )

 

Otl"icial Form 206EtF Schedule EtF: Creditors Who Have Unsecured Clalms page 1 of_

WonderWork, |nc.

Namc

chtor

16-13607 (MKV)

Case number tiri¢m.~i»..»=i

 

M List Ail Creditors With NONPR|OR|TY Unsecured Glaims

3. List in alphabetical order ali ofthe creditors with nonpriority unsecured claims. itthe debtor has more than 6 creditors with nonpriority

unsecured claims. hit out and attach the Additiona| Page of Palt 2.

 

Nonpriority creditor’s name and mailing address
Action l\/tai|ers

90 Comrrlerce Dri've

Amourit of claim

As of the petition fiti ng date, the claim is:
Check att that appiy.

m Contingeni

EJ unliquidated

m Disputed

s t8,339.14

 

Aston. PA 19014
Date or dates debt was incurred AUQ' 2015

Last 4 digits of accou nt number

Nonpriority creditor's name end mailing address
Biil & Ann Zif'f Foundatlon

350 Park Avenue. 481 Floor
New Yori<. NY 10522

 

|`vlay 2014

Date or dates debt was incurred

Last 4 digits ot account number

3.3 Nonpriority creditor's name and mailing address
. Briai'i Mti||aney

1 Surnnet Lane

Beimont. MA 024?8

 

 

Date or dates debt was incurred 2016

Last 4 digits of account number

Nonpriority creditor's name and mailing address
z CDR Fundrai`sing Group

 

16900 Science Drive, Suite 210
Bowie, MD 20715

 

 

Date or dates debt was incurred OC[' 2016

Last 4 digits of account number

Nonpri'ority creditor's name and melting address
CENVEO

 

Commerciai Env. Products
PO Box 802035, Ch`lcago, lL 60580-2035

 

cate or dates debt was incurred Oct- 2015

Last 4 digits of account number

m Nonprioritjl creditor’s name and melting address
z Color Tree Group

BOGD Vi'lia Park Drive
Henrico. VA 23228-6500

uaw or dates debt was incurred Sept‘ 2015

Last 4 digits of account number

Otticia| Form ZOSEIF

Schedu|e Eth Credltcrs Who Hava Unsecured Ctaims

Basis for the claim: S@Nices rendered

ts the claim subject to offset?

a No
n Yes

As of the petition till ng date, the claim is:
Check att that eppiy.

l;l Contingent

iii unilquzdaled

m Disputed

5 845,500.00

Basis for the claim: Loan
is the claim subject to offset?
No

Yes
As cf the petition fill ng date, the claim ls:
check ali mar apply. $ 641’320'07
l:l Contingent
C| unliquidated
EJ Disputed

. 201‘65| tt.i ‘bu d
Basis forthe clalm: nw "'°'m m “p""m

§ is the claim subject to offset?

a No
a Yes

As ofthe petition fill ng dato, the claim ls:
Check att that appiy.

C} Contingent

E] Unlfquidated

n Disputed

Basis for the cielm: Services rendered

s 48,750.00

ls the claim subject to oifset?
No
n Yes

As ofthe petition filing date, the claim is: 41949'13
Checl< all that appty. 3
a Cont§agent

a Url|iquidated

Cl Disputed
Basls for the ciaim: S@Nices rendered

ls the ciaim subject to offset?
a No

m Yes

As of the petition fill ng date, the ciaim is‘.
Ctiactc att that appiy.

Cl Contingent

ill unliquidated

m Disputed

S217/1922

Basis forthe clalm: SeNiCeS rendered

18 fhi} Clalm til|b]BCf 10 UHSQt?
a No
|:l

Yes

Page _

of__

WonderWork, inc.

Deblor

16-13607 (ll/li<\/)

Case number i:rk.-iownl

 

N&i‘li!

m Adciitional Page

 

Copy this page only if more space is needed. Contlnue numbering the lines sequentially from the

Arrlount of claim

previous page. if no additional NONPR|OR|TY creditors exist, do not fill out or submitthis page.

i‘~ionpriority creditor's name and mailing address
l Cornmunicaiioris Corporation oiAmerica

13195 Freedom Way

 

Bosion, VA 22713

Date or dates debt was incurred

Last 4 digits of account number

‘§| Nonpriority creditor‘s name and mailing address
Copiievitz & Canter, LLC

Nov. 2016

 

310 West 20th St., Suite 300

 

Kansas Cityl MO 64108

Dafe 0|‘ dates debt W&S incurred

Lnst 4 digits of account number

Nonpriority creditor's name and mailing address
Corporate Press, inc.

 

Dec.2016

 

9700 Phi|adeiphia COUrt

 

Lanbam. i‘viD 20706

 

Date or dates debt was incurred

> Last 4 digits cf account number

'i"i§.i'p`r§o`rii§{dealers"n},in'i`, ina §§mling`a£ia}és"s` "
Detter Family Foundation

l\lov. 2016

 

11519 Aerie Lane

 

Napies. FL 34120

Da!@ Ol‘ dates debt Wa$ incurred

Last 4 digits of account number

-3._ `i}lmpi~`ia}it§¢e}iiuré `t.ari`ié`§na"n§aiiing a'du`re';§" "
Deve|opment Resources, inc.

1820 N. Fort i\/ieyer Drl`ve, Suite 702

Aug. 2013

 

Ar|ii'igtoi'l, VA 22209

Date or dates debt was incurred

Last 4 digits of account number

 

Ofticia| Form 206Ei'F

Nov. 2016

 

Scheduie Eti Creditors Who Have Unsecured Ciaims

As of the petition fill ng date, the claim lsi

Chec.|< ai.' that appty.

Cl Contingenl

Ei unliquidated

Ci disputed

t;i Liquidated and neither contingent nor
disputed

s 6305.63

Basis forthe ciaim: Serv|oes rendered

is the claim subject to offset?

No

m ¥as

As ofthe petition fill ng date, the claim is: 1 140_93
Chectr ali that eppiy. 5
[:l Conlingent

Ci unliquidated

Cl Disputed

Basis for the ciaim: Sewlces rendered
is the claim subject to offset?
No
l:l Yes

 

 

AS Of the petition fill I!g date, the Ciairl'l lS!
Ch&CK all that appiy.

l;] Coniingent

C] Uniiquidated

l:i Disputed

$7,078.69

Basis for the ciaim: Serwces rendered

is the claim subject to oftset?
a No

\:| Yes

As of the petition filing date, the claim isc 106,83333
Chet:k att that appiy. 5

El Ccntingent

[] Lin|iquidaled

Ei Disputed

Basis iorthe cla|m: Loan
is the claim subject to offset?
No

i:i Yes

As oftlie petition till ng date,the claim is: 10,[]00_00
check air that appry. 3

El Contingent

m Un|iquideied

D Disputed

Basis for the c|lim: SeW[CES rendered
is the claim subject to offset?
No

a Yes

 

page_of___

WonderWori<, inc.

Debtor

16-13607 (Mt<\/)

Case number (liknnunl

 

Name

 

m Additt'orlal Page

Copy this page only If more space is needed. Ccntinue numbering the lines sequentially from the

Amclunt of ciaim

previous page. if no additional NONPR|OR|TY creditors exist, do not fill out or submit this page.

Nonpriority creditor's name and mailing address
Direct Niaii Processots, |nc.

 

1150 Conred Ct.

 

i-tagerstown, iviD 21740

 

l Date or dates debt was incurred

Last 4 digits of account number

[E:' Nonpriority creditor's name and mailing address

D|Vl| Data Nianagernerlt, |nc.

Sept. 2016

 

PO Bo)< 846

 

Sicnevi|le, NC 27048

 

Date or dates debt was fncurreci

Last 4 digits of account number

. Nonpricrity creditor’s name and mailing address
g Hana Fuchs

60 Riverside Drive, Apt. TF
New York. NY 10024

 

2016

§ mate or dates debt was incurred

Last 4 digits of account number

Nonprlclrity creditor’s name and mailing address
He|pMeSee, lnc.

20 West 36th St., Fl. 4
New Ydrl<. NY 10018

` .<»=
l

2016

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditor's name and mailing address
|DMI

490 White Pond Drive
Al<rnn. on 44320

 

Dafe 01' dates debt WBS incurred

Last 4 digits of account number

Ofiiciai Form 2€JE»E.'F

Dec. 20‘| 6

OCt. 2016
E.\ Yes

Schedule EiF: Creditors Who Have Unsecured Cfaims

As of the petition filing date, the claim ls:
Check ali ihaiappiy. 5 1 1 ’20096
13 Cont:'ngent
El unliquidated
cl Disputed
!:l Liquidated and neither contingent nor
disputed
Basis forthe ciaim: Sewlces rendered
is the claim subject to offset?
a No
Yes
As of the petition fill ng date, tile claim is: 4997_49
check all that apply. 3
Cl cnntingenl
Ei unliquidated
l:.l Disputed
Basis for the ciaim: Servlces rendered
is the claim subject to oifset?
No
g Yes
As cf the petition fill ng date, the claim ls: s 888'§ _02

Ci'leck eli that appiy.
a Ccntingent
El unliquidated
El Disputed

BaS|.s forma claim Unreimbursed expenses
is the claim subject to offset?

a No
n Yes

As ofthe petition filing date, the claim is: 16,059 833_50
Chacl< all mar appiy. 5 ’

i Cortiingent

ill unliquidated

Disputed

Basis iorthe ciaim:

is the claim subject to offset?

a No
C| Yes

As anne petition tlll ng date. the claim ls: 1628.52

Ciieck ali thai appiy. s

El Cotliingenl

Ei unthuidated

Cl Disputed

Basis fcrthe ciaim: SeW|CeS rendered

ls the claim subject to offset?
No

 

page _ of __

Wonderl/Vork, |nc.

Nllmh

D Additionai Fage

De btor

16-13607 (MKV)

Clse number umwa

 

Copy this page only if more space is needed Continue numbering the lines sequentially from tile

Amount of claim

previous page. if no additional NONPRIOR|T‘( creditors exist, do not fili out or submit this page.

3._ Nonpriorlty creditor’s name and mailing address
t Joseph Mullaney

512 River Road
Westpori, MA 02790

Date 0|‘ dates debt Wa$ incurred

Last 4 digits of account number

Nonpriority creditor's name and mailing address

Kap|an Krevet & \/ogei P.C.
630 Thlrd )'Ft\./enue1 5ih Floor

l

Al.ig. 2013

 

New Yori<. NY 10017

Date or dates debt was incurred

§ Last 4 digits of account number

Nonpriority creditor’s name and mailing address
Koala Design

 

Dec. 2016

 

 

Attn: l\/iil<e Schel| 1606 NE ist St.
Forl Lauderda|e. Fi_ 33301

Date or dates debt was incurred

Last 4 digits of account number

Nonprlorlty creditor's name and mailing address

f L&E l\/lerldlan
8000 Corporate Court

DeC. 2016

 

Sprtngii@ld, vA 22153

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditor’s name and mailing address
l_og-On

520 Eighth Avenue, 14 Fl.
§ New Yor:<, NY 10018

Date or dates debt was incurred

i Last 4 digits of account number

 

 

Ofnciai Form 206EIF

Oct. 2016

! Sept. 2016
m Yes

Schedule Ei'F: Creditors Who Have Unsecurad Ciairrls

As of the petition fill ng date, tile claim is:

Check all that appiy.

51 Contlngent

Ci unliquidated

E.l Disputed

U i.iquidaied and neither contingent nor
disputed

3 110,750.00

Basis for the claim: Loan
is the ciaim subject to offset?

i Nc
Cl Yes

5 3259.03

As of the petition fill rig datef the claim is:
Check all ther appiy.

m Contingent

C! unliquidated

C] Dispuieci

Basis fertile claim: Servlces rendered

is the claim subject to offset?

 

As of the petition filing date, the claim is:
Cil'eck ail trial appi'y.

a Conilngent

El unliquidated

\:\ Disputed

5 3,500.00

Basls iorthe ciaim: Sewices rendered

is the claim subject to offset?
No
m Yes

As of the petition iiii ng date, the claim is:
Check all that appiy.
Contingeni
Ci unliquidated
l;l Disputed

51359.48

Elasis forthe ciaim: Servlces rendered
ls the claim subject to offset?

No
C] Yes

ns anne petition illl ng date, the ninlrn ls: 48,538_28
Check ali trial appiy. 5

Cl Contingent

Ci unliquidated

Ci Disputed

Basis for the claim: Sewlces rendered
is the claim subject to offset?
No

 

 

page m__ of ___

WonderWori<, inc.

chior

16-13607 (lvii<v)

Casc number (iri<nownl

 

Nnn\e

m Additional Page

 

Copy this page only if more space ls needed. Coritinue numbering the lines sequentially from the

Amount of claim

previous page. if no additional NONPRIOR!TY creditors exist, do not fill out or submit this page.

Nonprlority creditcr's name and mailing address
MDE imaging and Maii

21955 Cascacles Parkway

 

Ster|ing. VA 20t66

Date or dates debt was incurred

§ Last 4 digits of account number

Nortpriority creditor's name and mailing address
it/leadow|ark Foundatiori

§ PO Box 860
l Saratoga Springs. NY 12866

 

Date or dates debt was incurred

Last 4 digits of account number

|E:, Nonpriority creditor's name and mailing address
Nestie Pure Life Dit"ect

OC’£. 2016

Jan.2014

 

PO Bo>< 856192

 

Louisviiie. KY 40285

Date or dates debt was incurred

Last 4 digits of accou tit number

maintain arnett t§$}n`é`“a'§{u mailing a`.`t`é"r`es"s`"
i\|e><tiva
8800 E Chaparrel Rd. Ste 300

59
l

Dec. 2016

 

Scoitsc|aie. AZ 85250

Date Oi' dates debt WaS incurred

Last 4 digits of account number

,Nonpr|o,r|ty creditor's name and mailing address
Resource One

Nov. 2016

 

2900 E. Apache

 

Tuisa, OK 74116

Date or dates debt was incurred

Last 4 digits of account number

Ofncia| Form 206Eii=

Nov. 2016

Scheduie Ele Creditors Who Have Unsecured Claims

As of the petition ml ng date, the ciaim is:

Check ali that apply.

L:I Contingent

13 Unllquidaied

Ci Disputed

L_.l quuldaied and neither contingent nor
disputed

3 4657.64

Eiasis forthe ciaim: Sewices rendered

is the ciaim subject to oi'|'set?
No
Yes

3 524,333.33

As cf tile petition fill ng datel the claim is:
Check aii‘ that appiy.

Ci Contingent

Ei unliquidated

U Disputed

Basis fortna claim: |'Oan
ls the claim subject to offset?

i No
m Yes

522.33

As of the petition filing date, the claim is:
Checit ait' that epply.
m Contl`ngerlt
Un|iql.lidaied
l:i Disputed
casts fortna clalm: thce Supp|'es
is the claim subject to offset?
w No
g Yes

As of the petition filing date, the claim is: 527,56
enact all lnatapply. 5
m Contingent

Ei unliquidated
m Disputed

Uti|iiies

is the claim subject to offset?
g No
[3 Yes

Basls for the claim:

52165.30

As of the petition tiii ng datel the ciaim is:
Check ali that appl'y.
L_.I Coniingeni

Un|iquidated
Cl Disputed
Elasis for the ciaim: Serwces rendered
ls the claim subject to oifset?
a No
m Yes

 

 

1
§
i
t

page __ of _

WonderV\/ork, lnc.

Nlm¢

mAdditionat Page

Debior

16-

Case number (.rknmw=)

13607 (Mi<\/)

 

Copy thls page only ii more space is needed. Contlnue numbering the lines sequentially from the
previous paga. ii no additional NONPR|ORETY creditors exist, do not fill out or submit this page.

Nonpriority creditor’s name and mailing address
§ Skyline Credit Ride, lnc.

5 52-29 35th St.
Long leland City. NY 11101

2016

Date or dates debt was incurred

Nonpr|orlty creditor's name ind mailing address

The Holewinski Group

253 Rainbow Drive #15398
Livingslon, TX 7?399

Last 4 digits of account number

|\iov. 2016

Date or dates debt was lru:urred

 

Last 4 cilglts of account number

E--l-lonpriorl“ty creditor's nameand mailing address
l i'he Raphael & Diana Vlnoiy Foundation

350 Fifth Avenue, 41 Fi.
NewYork,NY10118

Sept. 2013

Date or dates debt was incurred

Last 4 digits of account number

am.`¢`ri'£,rii§ Ereéiio`}?§ ne$§e' §-;n&"r‘.i`a`"ill`.}g"aa“a};§§"" `" `
Thompson Family Foundation

g 0/0 Kevin lviaclay
l Or;e Thomas Circle, NW, Ste. 1100, Wasbinglon, DC 20005
Date or dates debt was lncurred May 2013

Last 4 digits of account number

Nonprlorlty creditor’s name and mailing address

Tri-State l.-'.nvelope Corp.

1 West 34 St., Suite 704
New Yorl< NY 10001

Nov. 2016

Date or dates debt was incurred

Last 4 digits of account number

Offlcial Form ZOSEIF

C] Yes

As ofthe petition fill ng date, the claim is:

Checir all that appiy.

i:} Ccnllngent

[:l Un|lquidated

Cl Disputed

m i.lquldaled and neither contingent nor
disputed

Basls for the claim:

ls the claim subject to offset?

No
n Yes

As ofthe petltion filing date, the claim ls:
Check e.'l that apply.

Cl Contingenl

El unliquidated

El Disputed

Basis for the claim:

ls the claim subject to offset?

i No
m Yes

As oithe petition fill ng date, the claim ls:
Checlr all that apply.
Contingent
Cl Unliqul'dated
m Disputed

Elasis for the claim: Loan

ls the claim subject to offset?
a Nc
m Yes

As oithe petition flll ng date, the claim is:
Chsck ah' that apply.

Contingent
l:l Un|:'quidated
m Disputed
Basls for the claim: Loan
ls the claim subject to oifset?

i No
n Yes

As of the petition fiil ng date, the clalm is:
Chack all that apply,
Coniingent
[:l Un[iquidaied
l:l Disputed

Basls for the clalm:

ls the claim subject to offset?
i No

Schedule Ein Creciltors Who Have Unsecureci Claims

Amount of claim

343.05

 

Services rendered

S120.00

 

Services rendered

$ 60,083_33

 

s 7,979,166.67

 

s 2841.32

 

Services rendered

page ____ of __

WonderWori<, lnc. ease number wmm 16-13607 (l\/iKV)

Hol?i¢

m Adclitional Page

Copy this page only ii more space is needed. Continue numbering the lines sequentially from the Am°umofc|a|m
previous page. lf no additionai NONPR|OR|TY creditors exist, do not fill out or submit this page.

Debtor

 

Nonpriorlty creditor’s name and malilng address As of the petition fill ng date, the claim ls: 3171 06
5 .

z Union lD and Niail C"”" *‘" ”’“"P'°’J"
l a Contingent

§ cl Un|lquldated

 

 

 

 

' ‘ m Disputed
8516 Ramswood Dnve Cl Liquidated and neither contingent nor
1 Laridover. MD 20765 disputed
east forma clnlm: W
Date or dates debt was incurred NOV' 2016 is mrs °'aim Subje°t t° °Hset?
: ° §
§ Last 4 digits of account number _____ ____ C¥ Yes §

 

r ' t ’ dd
§§§ Nonp lorlty credi ors name and mailing a ress As anne petition fm ng date, the claim is: 5 1967-73

 

 

 

 

 

Valiim Mari<eting Soiutions checw”rharapmy.
§ Contingent

Unliquidated l
PO BO>< 809 Cl oispuled
‘ Forest, VA 24551 .
~ Basis for the c|alm: M§g
§ Date or dates debt was Incurmd OCt. 2016 laws claim subject to oifset? §
o i
» Last 4 digits of account number _________ ___ L:l Yes

Nonprlority creditor’s name and mailing address

 

As of the petition filing date, the claim ls: 5 452_50

 

 

 

 

We||s Fargo Fl`nancia| Leesing Checc§<ai§_rharappry. §

Clr| |ngEnf §

ill unliquidated

800 vvalnui Si., wine N0005-055 a Dispu,&d §

Des Molriesl lA 50309 .

Basls for the clalm: Cop|er Lease i

Date or dates debt was incurred Dec‘ 201 3 ams claim sub-fact t° °"59‘? §
i o i
Last 4 digits of account number ___ __,______, E] Yes §

Nonprlority creditor‘s name and mailing address

 

ns urine petition filing date, the claim is: 5 76,32

 

 

 

 

XPO LOQ§SHCS Ciieck all thalappl'y.

E:l Conlingent
Po cox 2693 § gp;;iu§§;fed
New York’ N¥ 10108 Basis ior the cla|m: Sewices rendered §
Date or dates debt was incurred NOV' 2016 §;m;o°|a'm gub]e‘”~ to °Hset? §
Last 4 digits of account number ___ ___ |;] Yes

§§§ Nonprlority creditor's name and malilng address _ _

As of the petition fiil ng date, the claim is: §
Check all ihatapply. 5--»_-__........._. §
|;l Ccntingenl i
|:l Unliquidated §
El Disputed

 

 

 

Basls for the claim:

ls the claim subject to offset?
Ci Nn .
§ Last 4 digits of account number ________ U Yes §

Date or dates debt was incurred

Ofi'icia| Form 206El'l~' Schedu|e EIF: Creditors Wiio Have Urlsacured Clalms page_ oi__

WonderVVork, inc.

£lebtor
N&l me

Total Amounts of the Priority and Norlpriority Unsecured Claims

' 5. Add the amounts of priority and nonpriority unsecured claims.

Sa. Tota| claims from F'art‘l

§ 5b. Tota| claims from Part2
§

i
§ 5c. 'l”otal of Parts ‘l and 2
Lines 53 + 5b = 5c.

Ofl'icia| Form 2OSEIF

Sa.

5b.

5c.

Schadu|e EIF: Creditots Who Have Unsecured C|aims

CHSB l'lL|IT|bE|' (l`l'knawn)

16-13607 (i\/ii<\/)

+

Tota| of claim amounts

0

5

S26,556,513.(:)6

 

 

526,556,5'|3.06

 

 

page __ of_

